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                                               M IN U TE O RD ER                                                              Page 6

                             Chief M agistrate Judge lohn J.O 'Sullivan
                     AtkinsBuildingCourthouse-5th Floor                                 Date:9/6/2019         Time:1:30p.m .
          ABDUL-M Y EED M AROUF                  z                                                            )
D'
 efendant:AHM ED ALANI                            J#: 18349-104'        Ca'
                                                                          se #: 19-3419-M JLO'SULLIVAN

AUsA:            M tzw-           e' L + /.s                  Attorney: y vp                -
violation:WI
          AIRLCLR
                FA
                 UL
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                                                              .       Surr/ArrestDate:9/5/2019-
                                                                                              - YOB:1959
                                                              tjs.

Proceeding: lnitialAppearance                                             CJA A-ppt:
Bond/pTD HWld:CàYes C'No                      Recommended Bond:                                                   '*                   -*
BondSetat:                                                                Co-signedby:                   Cd
  17 S                                                                                    p          .
         urrenderand/ordonotobtainpassports/traveldocs                            Language:              # (.I'-p
  C) ReporttoPTSas directed/or        x,saweek?/monthby                           Disposition:
     phone:      x'saweek/month inperson
        Random urine testing by Pretr
                                  - ial                                                              *
  Ct
   'Services                                                                                                              .
        Treatm entasdeem ed necessary                                                                                           *
  /7
   'Refrainfrom excessiveuseofalcohol                                                                                      w                J
  r'Participateinmentalheal
                          thassessment&treatment                                   X h-IE D/o * e l0 % 6.
  r' M aintain orseekfull-timeemployment/education                                              -
  r.
   7' Nocontactwithvictims/witnesses,exceptthroughcounsel                                                         .
  r' Nofirearms
  r Nottoencumberproperty
  C(' M ay notvisittransportation establishments
  17 HomeConfinement/ElectronicMonitoringand/or
        Cudew                pm to              am ,paid by                                                           .
  L Allowances:M edicalneeds,courtappearances,àttorneyvisits,
    .
        religious,em ploym ent
  Ci'Travelextended to:                                                            Timefrom todayto                       excluded
  Ci Other:                                                                        from SpeedyTrialClock
NEv couRiAPPEARANCE Date:                       Time:                Judge:                       Place:
R ortRE counsel:
PTD B dHearing:                           R lI           . /&
Prelim/Arraig orRemoval'
                       .                                                      '
                                                 .                                  q       .                                    '
Status onference RE:
D.A.R. )3 '.%f :Q q                                                       Tim e in Court:                 '
                                      .

                                          s/lohnJ.O'Sullivan                                        ChiefMagistrateJudge
